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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

UNITED STATES OF AMERICA

v.                                   No. 4:11CR00156-12 JLH

PAUL RANDALL HUSSEY

                                            JUDGMENT

        Pursuant to the Opinion and Order entered separately today, Paul Randall Hussey’s motion

to vacate, set aside, or correct his sentence is denied. No certificate of appealability will be issued.

        IT IS SO ORDERED this 18th day of March, 2014.




                                                        J. LEON HOLMES
                                                        UNITED STATES DISTRICT JUDGE
